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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                             )                        Case No. 6:18-bk-6821-CCJ
                                   )
DON KARL JURAVIN,                  )                        Chapter 11
                                   )
      Debtor.                      )
__________________________________ )

            MOTION FOR TURNOVER OF PROPERTY OF THE ESTATE
           BEING HELD BY DENNIS D. KENNEDY, CHAPTER 7 TRUSTEE

                            NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
 without further notice or hearing unless a party in interest files a response within thirty (30)
 days from the date set forth on the attached proof of service, plus an additional three days
 for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of
 the Court at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy
 on the movant’s attorney, Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N.
 Orange Avenue, Suite 300, Orlando, Florida 32801, and any other appropriate persons
 within the time allowed. If you file and serve a response within the time permitted, the Court
 will either schedule and notify you of a hearing or consider the response and grant or deny
 the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do
 not oppose the relief requested in the paper, will proceed to consider the paper without
 further notice or hearing, and may grant the relief requested.

         The Debtor, DON KARL JURAVIN (“Juravin” or “Debtor”), by and through

undersigned counsel, and pursuant to 11 U.S.C. §§ 348(e) and 542(a), hereby files this Motion

for Turnover of Property of the Estate being held by Dennis D. Kennedy, Chapter 7 Trustee,

and in support thereof further state as follows:




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                                          Jurisdiction

          1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          2.     The statutory predicate for the relief requested in this Motion is 11 U.S.C. §§

105, 348(e) and 542(a).

                          Factual Background & Procedural Posture

          3.     The Debtor filed a voluntary petition for relief under Chapter 7 of the

Bankruptcy Code on October 31, 2018 (the “Petition Date”).

          4.     On September 13, 2019, after realizing a significant increase in income, the

Debtor filed a Motion to Convert Case to Chapter 11 (the “Conversion Motion”) (Doc. No.

172).

          5.     On September 16, 2019, the Court entered an Order and Notice Converting Case

to Chapter 11 (the “Conversion Order”) (Doc. No. 174), as well as an Order Authorizing

Debtor-In-Possession to Operate Business (the “DIP Order”) (Doc. No. 175).

          6.     During the course of the Chapter 7 case, the Chapter 7 Trustee, Dennis D.

Kennedy, recovered approximately $148,956.77, which is still in his possession.

          7.     The funds recovered by the Chapter 7 Trustee are property of the bankruptcy

estate.

          8.     The Debtor and Debtor-In-Possession request the turnover of the funds being

held by the Chapter 7 Trustee.

          9.     No trustee has been appointed by the United States Trustee’s Office pursuant to

Section 1104 of the Bankruptcy Code.
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                                            Argument

A.     Debtor Is Entitled to Turnover of Assets Recovered by Chapter 7 Trustee

       10.     Section 541(a) of the Bankruptcy Code provides that the bankruptcy estate “is

comprised of all the following property, wherever located and by whomever held: (1) Except

as provided in subsections (b) and (c)(2) of this section, all legal or equitable interests of the

debtor in property as of the commencement of the case.” (emphasis added).

       11.     Section 348(e) of the Bankruptcy Code provides that “Conversion of a case

under section 706 . . . of this title terminates the service of any trustee or examiner that is

serving in the case before such conversion.”

       12.     Upon entry of the Conversion Order, the service of Dennis D. Kennedy as

Chapter 7 Trustee was terminated.

       13.     According to 11 U.S.C. § 1107(a), “a debtor in possession shall have all the

rights, other than the right to compensation under section 330 of this title, and powers, and

shall perform all the functions and duties, except the duties specified in sections 1106(a)(2),

(3), and (4) of this title, of a trustee serving in a case under this chapter.”

       14.     The monies recovered by the Chapter 7 Trustee are necessary for the successful

reorganization of the Debtor, and the Debtor is entitled to turnover of the funds being held by

the Chapter 7 Trustee.

B.     The Chapter 7 Trustee May Not Condition Turnover on Payment of
       Compensation of the Trustee

       15.     The Chapter 7 Trustee has filed a motion for relief from the Conversion Order,

demanding that turnover of the recovered funds be condition upon payment of administrative

expenses incurred during the Chapter 7 case.


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       16.     The plain language of 11 U.S.C. § 326(a) states that the chapter 7 trustee’s

compensation is contingent upon “all moneys disbursed or turnover over in the case by the

trustee to parties in interest, excluding the debtor, but including holders of secured claims.”

       17.     The Chapter 7 Trustee is not entitled to compensation.

       18.     During the Chapter 7 case, the Chapter 7 Trustee filed an application to employ

the law firm of Winderweedle, Haines, Ward & Woodman P.A. (“WHWW”) to serve as

counsel to the trustee.

       19.     If WHWW is entitled to any compensation as professionals, they are required

by 11 U.S.C. § 330 to file an application for compensation, which is subject to review and

objection by parties in interest.

       20.     Even if it is determined that WHWW is entitled to an administrative claim in

the Chapter 11 case, they will be treated under, and provided for, in the Chapter 11 Plan as the

holders of an allowed administrative claim.

       21.     However, there is no provision in the Bankruptcy Code that allows the potential

holders of an allowed administrative claim to hold hostage property of the bankruptcy estate

that is necessary for the successful reorganization of the debtor.

       22.     In order to preserve the monies recovered by the Chapter 7 Trustee, counsel for

the Debtor will hold the funds in its trust account pending confirmation of a chapter 11 plan.

       WHEREFORE, the Debtor, Don Karl Juravin, respectfully requests this Honorable

Court enter an Order: (a) requiring Dennis D. Kennedy, Chapter 7 Trustee, to turnover to the

Debtor the money he is holding in the amount of $148,956.77; and (b) granting any such further

relief that this Court deems just and proper under the circumstances.



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                              CERTIFICIATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

CM/ECF and in accordance with F.R.B.P. 7004, to all parties in interest on the attached Service

List, this 15th day of October, 2019.


                                           __/s/ Aldo G. Bartolone, Jr.____
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